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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


CHAUNA JONES f/k/a CHAUNA CRAWLEY
TYRONE HENDERSON, on behalfofthemselves
and all other similarly situated individuals

       Plaintiffs,

                                                                     CIVIL ACTION NO.


EQUIFAX, INC., in its own name and t/a
EQUIFAX WORKFORCE SOLUTIONS                                           v£>: \**<<z>r<L&r>&>
a/k/a TALX CORPORATION


SERVE: Corporation Service Company
         Bank of America Center, 16,h Floor
         1111 East Main Street
         Richmond, VA 23219

and


EQUIFAX INFORMATION SERVICES, LLC

SERVE:         Corporation Service Company
               Bank of America Center, 16th Floor
                1111 East Main Street
               Richmond, VA 23219

               Defendants.


                                CLASS ACTION COMPLAINT


       COME NOW the Plaintiffs, Chauna Jones f/k/a Chauna Crawley ("Jones") and Tyrone

Henderson ("Henderson" or collectively referred to as "Plaintiffs"), on behalf of themselves and

all other similarly situated individuals, by counsel, and as for their Complaint against the

Defendants, they state as follows:
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                                PRELIMINARY STATEMENT


        1.     The Plaintiffs bring this class action against the Defendants to obtain relief for

themselves and the class they propose to represent for the Defendants' violations of the Fair

Credit Reporting Act ("FCRA"), 15 U.S.C. § \6S\,etseq.

        2.     Defendants operate as a single FCRA governed "consumer reporting agency."

Equifax, Inc. has structured itself in order to warehouse its sale of credit-reporting consumer

reports in one entity and its sale of employment, payroll, and income-records consumer reports in

a second entity. However, it freely transfers data between units and operates without any

impediments of corporate structure. In almost every material regard, the Equifax units operate as

if they are one and the same, a single "consumer reporting agency."

        3.     Despite the Defendants' governance by the FCRA, they operate as if the law does

not exist. They maintain an extensive database called "The Work Number" (afterwards referred

to as "Work Number Database") that contains employment, payroll, and income records from

more than 2,000 employers nationwide, including two out of three Fortune 500 companies and

90 percent of federal agencies. http://www.theworknumber.com/Employees/Why/index.asp (last

visited September 30,2014). They then sell consumer reports generated from the database and

furnish these consumer reports to users. The Defendants advertise that these reports can be used

to assess "ability to afford", to gain information that virtually eliminates reliance on applicant-

provided data, to increase regulator and internal compliance, and to add consistency and

operational efficiency. Verification Services Overview (March 19, 2013) (attached as Exhibit

"A").
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       4.      Because of the extensive and highly sensitive information contained in the Work

Number Database, it is imperative that consumers are allowed to easily gain access to and review

the information that the Work Number Database maintains on them, as required by the FCRA.

       5.      Plaintiffs allege a class-claim under 15 U.S.C. § 1681g. The Plaintiffs requested a

full copy of their credit files from the Defendants. When the Defendants responded to the

Plaintiffs, they refused to disclose any information from their Work Number Database.

       6.      Plaintiff Henderson also alleges an individual claim for Defendant Equifax

Information Services, LLC's violation of 15 U.S.C. § 1681e(b) due to its failure to establish or to

follow reasonable procedures to assure maximum possible accuracy in the preparation of the

credit reports and credit files it published and maintained concerning him.

                                          JURISDICTION


        7.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681(p).

Venue is proper in this Court under 28 U.S.C. § 1391(b) as the Defendants regularly conduct

business in this district and division.

                                              PARTIES


        8.      Plaintiffs are both natural people residing in Virginia, and at all times relevant to

the Complaint were each a "consumer" as defined by 15 U.S.C. §1681a(c).

        9.      The Defendants are Equifax, Inc. in its own name and trading as Equifax

Workforce Solutions a/k/a TALX Corporation, as well as Equifax Information Services, LLC

(Together, "Defendants" or "Equifax").

        10.     Upon information and belief, Equifax is a "consumer reporting agency" as

defined in 15 U.S.C. §1681(f). Upon information and belief, Equifax is regularly engaged in the
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business of assembling, evaluating, and disbursing information concerning consumers forthe

purpose of furnishing consumer reports, as defined in 15 U.S.C. §1681(d), to third parties.

                                             FACTS


      DEFENDANTS OPERATE AS A SINGLE NATIONAL CREDIT REPORTING
                                            AGENCY


        11.     The Defendants holds themselves out as "a leading global provider of information

solutions and human resources business process outsourcing services for business and

consumers" with products and services "based on comprehensive databases on consumer and

business information derived from numerous types of credit, financial assets,

telecommunications and utility payment, employment, income, public record, demographic and

marketing data." Equifax, Inc. 2012 Form 10-K Annual Report, 2 (February 22,2013).

        12.     The Defendants maintain these databases in order to "analyze all available data,

creating customized insights, decision-making solutionsand processing services for [their]

clients." Id.


         13.    The Defendants maintain a database known as the Work Number Database.

         14.    In maintaining this database, the Defendants assert that:

         We rely on payroll data received from over 2,500 organizations, including almost
         three quarters of Fortune 500 companies, to regularly update the database. The
         updates occur as employers transmit data electronically to Equifax from their
         payroll systems. Employers contract to provide this data for specified periods
         under the terms of contracts which range from one to five years. We use this data
         to provide employment and income verification services to third-party verifiers;
         the fees we charge for these services are generally on a per transaction basis.
         After the expiration of the applicable contract, absent renewal by mutual
         agreement of the parties, we generally do not have any further right to use the
         employment data we obtained pursuant to the contract. We have not experienced
         significant turnover in the employer contributors to the database because we
         generally do not charge them to add their employment data to the database and the
         verification service we offer relieves them of the administrative burden and
         expense of responding to third party employment verification requests. The
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        database contained approximately 221 million current and historic employment
            records at December 31,2012.

Id. at 6.


            15.   The Work Number Database offers information for several purposes. For

example, The Work Number offers several products that can be used to verify employment

information including, but not limited to: employment data direct from employers, including start

date, tenure, job title, etc.; income information; business and regulatory listings; confirmation

that a consumer is currently employed with a company on The Work Number; tax transcript

information; reverification of information needed for loan closing; and portfolio monitoring of a

specific consumer.

            16.    The Work Number Database also offers products used for identity assessment and

authentication including, but not limited to: social security number authentication report; SSA

Death Master File Audit; and identity usage history, which reports on the validity of a social

security number, as well as place and date of issue, as well as previous addresses associated with

the name or social security number, as well as indicators of multiple identities.

            17.    The Work Number also maintains extensive tax information on consumers.


According to its website, "Our IRS income verification service is an efficient, cost-effective way

to retrieve all tax transcript forms ~ 1040s to 1099s, W-2s, state income reports, and business

income tax returns. The tax transcript provides a complete picture of all household income,

including investment income as well as salary and wages." http://www.theworknumber.com/

Verifiers/Products/4506T.asp#sts=IRSIncome Verification - 4506-T Tax Transcripts (last visited

September 30,2014).

            18.    The Work Number Database provides an account verification service in which it

provides consumers' bank statements and other financial documents to its customers.
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       19.    The Work Number also offers a business verification service, in which it

       offer[s] an industry leading, fully automated solution for confirming deposits and
       assets held in accounts by corporate entities or in the personal accounts of the
       business' principals. In addition, [The Work Number is] the industry leader in IRS
       tax transcript fulfillment for both individual tax information and business filings.
       Furthermore, Equifax can verify an Employer Identification Number (EIN).

http://www.theworknumber.com/Verifiers/Products/business_verifications.asp (last visited

September 30, 2014).

       20.     The Work Number sells this information to its customers for a variety of reasons

including, but not limited to, to approve a consumer for credit or employment, to assess a

consumer's "ability to afford", to analyze a person's deposits and assets for loan production, and

to assess business risk in potential investments. See http://www.theworknumber.com/Verifiers/

Products/index.asp (last visited September 30, 2014); see also http://www.theworknumber.com/

Employees/Help/faq.asp?category=general#2 (last visited September 30, 2014).

       21.     The Work Number Database is extensive. It receives its data from more than

2,500 employers, including several Fortune 500 and other large, private companies and

government agencies, such as the Internal Revenue Service. And, according to its website, The

Work Number Database is updated every time that an employer runs payroll. http://www.

theworknumber.com/Verifiers/Help/faq.asp?category=general#3 (last visited September 30,

2014). As of June 10,2013, The Work Number website boasted that its database contained 58

million current records and over 165 million historical payroll records regarding consumers. See

http://www.theworknumber.com/Verifiers/; http://www.theworknumber.com/Verifiers/

Industries/Education.asp (last visited September 30, 2014).

       22.     The Work Number Database has an impact on virtually every credit industry and

customizes its products as tailored to each industry.
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       23.     For example, mortgage companies seeking information regarding a loan applicant

are encouraged to review the following products in order to evaluate "ability to pay" and loan

eligibility: Employment Verification; Employment & Income Verification; Reverify - Closing

Verbal VOE; Point in Time ™ - Retro Income Verification; IRS Income Verification -4506-T

Trans Transcript Fulfillment; Identity Assessment & Authentication; The Work Number Alert -

Portfolio Monitoring; The Work Number Select - Portfolio Segmentation; and Employment

Indicator - Portfolio Segmentation.

       24.     The Work Number website offers similar product recommendations to evaluate

risk for other transactions, including auto loans, credit cards and other consumer finance

opportunities, employment pre-screening, property management, and education loans.

       25.     The Work Number's products have far reaching consequences for consumers

throughout the United States.

        26.    For example, in October 2012, Equifax partnered with Lender Processing

Services ("LPS") to enable lenders to automatically order Verifications of Employment

("VOEs") from Equifax's Work Number Database through LPS's Loan Quality Gateway system.

The Defendants claim that this system will help lenders reduce paperwork at underwriting and

closing and will also "help[ ] to reduce loan buyback risk by using third-party verification to

identify errors and borrower misrepresentation." LPS Partners with Equifaxto OfferLenders

Employment Verifications through the Loan Quality Gateway, Equifax Press Release (October

23, 2012), http://www.theworknumber.com/Verifiers/News/Equifax-LPS-LQG-102312.pdf.

        27.    Additionally, in January 2013, Equifax partnered with DocuSign to allow

individuals to electronically sign and submit an essential mortgage lending IRS form used to
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request a transcript of a consumer's tax return, known as the "4506-T' form. Through this

program, Equifax

       lets the lender send a request form to the loan applicants for signature using
       DocuSign as a value-added element provided a faster, secure, legal signature as
       authorization to release information. This simple step can be completed during
       their normal tax transcript ordering process and eliminates the need for the lender
       to collect the signature separately and upload the signed document. Equifax then
       processes the request, including routing to appropriate parties at the IRS, ensuring
       a fast, paperless transaction that authorizes the distribution of tax information to
       the lender.


Equifaxand Docusign Help the IRA Accelerate Forms Processing with eSignature. Equifax

Press Release (January 10,2013), http://www.theworknumber.com/Verifiers/News/DocuSign-

Equifax-Press-Release-January-10-2013.pdf. The processing of these eSignatures is

accomplished through its Work Number Database.

       28.     Furthermore, several employers, such as Oregon State University, use The Work

Number to outsource its employment and social service verifications for items such as mortgage

applications, reference checks, loan applications, apartment leases, and government aid such as

food stamps or (SNAP), Aid to Families with Dependant Children (AFDC), Temporary Aid to

Needy Families (TANF), Medicaid, Women, Infants, and Children (WIC), and government

housing programs. See http://hr.oregonstate.edu/policies-procedures/employees/work-number-

employment-verification-system/frequently-asked-questions (last visited September 30, 2014).

       29.     Organizations, such as Oregon State University, use the Work Number to reduce

its costs in its human resources department. For example, Oregon State University states on its

website:


        Currently, the Human Resources department bears the cost of processing
        employment verifications, including time, labor, fax, and postage charges.
        Using THE WORK NUMBER® virtually eliminates this processing cost for
        Oregon State University.
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       Verifiers pay a fee to obtain employment and income verifications from The
       Work Number. The practice of paying a fee for employment verification is
       widely accepted and generally taken from the loan-processing fee that most
       lending institutions or property managers charge for loan or rental applications.
       Our employees are not charged any additional fees for this service.

Id.


       30.     Upon information and belief, the Work Number provides these services at a

reduced cost, or no cost at all, so long as the organizations agree to provide their payroll

information and other highly sensitive information regarding their employees to the Work

Number Database.


       31.     Upon information and belief, Equifax also sells the information in its Work

Number Database to debt collectors. See Bob Sullivan, EXCLUSIVE: Your Employer may Share

your Salary, and Equifax mightSell that Data, (January 30,2013 4:44 AM), http://redtape.

nbcnews.com/_news/2013/01/30/16762661-exclusive-your-employer-may-share-your-salary-

and-equifax-might-sell-that-data.

        32.     By their own repeated admissions, Defendants are regularly engaged in the

business of assembling, evaluating and disbursing information concerning consumers for the

purpose of furnishing consumer reports to third parties.

        33.     The data and reports Equifax sells from its Work Number Database are used and

expected to be used for multiple purposes governed by 15 U.S.C. § 1681b and the data included

in each report bears on the credit history, credit worthiness, reputation, personal characteristics,

and mode of living of each respective consumer.

        34.     And by their own admission, each of the Equifax entities is integrated as a single

national credit reporting agency, with all databases marketed and made available to each of

Equifax's customers regardless of structure or category of content. See generally Equifax, Inc.
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2012 Form 10-KAnnual Report, 2 (February 22,2013) (referring to all of Equifax's 'operating

segments' as one entity, Equifax, Inc.); http://www.equifax.com/business/all-products (last

visited September 30,2014) (containing information aboutall of Equifax's 'operating segments'

on a single website).

       35.     Accordingly, as previously alleged, Defendants operate collectively and jointly as

a national "consumer reporting agency" as defined in 15 U.S.C. § 1681a(f).

       36.     In fact, on the Work Number website, the Defendants state "Under FCRA, we are

a Consumer Reporting Agency and subject to its requirements. We're committed to safeguarding

your privacy, and we fully comply with FCRA requirements." http://www.theworknumber.com/

Employees/FCRA/index.asp (last visited September 30, 2014).

               PLAINTIFF JONES REQUESTS A COPY OF HER REPORT

        37.    In early 2013, Plaintiff Jones requested a full copy of her file from the

Defendants.


        38.     On or around February 13, 2013, in response to Plaintiff Jones's request, Equifax

provided and furnished to Ms. Jones only her conventional credit report portion of Equifax's file

and falsely represented that it had provided her full file.

        39.     In its response, the Defendants did not include any information about Plaintiff

Jones's entry in their Work Number Database.

        40.     Equifax did not provide Plaintiff Jones a copy of her full consumer file as it

would sell to a third party.

              PLAINTIFF HENDERSON REQUESTS A COPY OF HIS REPORT

        41.     In approximately April 2013, Plaintiff Henderson requested a full copy of his file

from the Defendants.




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       42.      On or around May 24, 2013, in response to Plaintiff Henderson's request, Equifax

provided and furnished to Mr. Henderson only his conventional credit report portion of Equifax's

file and falsely represented that it had provided his full file.

        43.      In its response, the Defendants did not include any information about Plaintiff

Henderson's entry in their Work Number Database.

        44.      Equifax did not provide Plaintiff Henderson with a copy of his full consumer file

as it would sell to a third party.

        45.      Furthermore, Plaintiff Henderson discovered that his credit file contained

numerous pieces of inaccurate information that did not belong to him.

        46.      For example, and without limitation, the credit file listed information that does not

belong to Plaintiff Henderson, including name variation, and an address that does not belong to

him.


        47.      As a result of this inaccurate credit reporting, Plaintiff Henderson suffered actual

damages.

                       THE DEFENDANTS' CONDUCT WAS WILLFUL


        48.      The Defendants are well aware of their obligations under the Fair Credit

Reporting Act.

        49.      The Defendants knew about their legal obligation to provide all information in a

consumer's file upon the consumer's request under the FCRA. These obligations are well

established in the plain language of the FCRA and in the promulgations of the Federal Trade

Commission.


        50.      In fact, the Defendants stated in their 2012 10-K report filed with the Securities

Exchange Commission that:




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        The Fair and Accurate Credit Transactions Act (2003), or FACT Act, which
        amended the FCRA and requires ... nationwide consumer credit reporting
        agencies, such as us, upon the request of a consumer, to ... furnish a free annual
        credit file disclosure to consumers through a centralized request facility we have
        established with the other nationwide credit reporting agencies.

Id. at 11.


        51.    Despite knowing of these legal obligations, the Defendants acted consciously in

breaching their known duties and deprived the Plaintiffs and other members of the class of their

rights under the FCRA.

        52.    Defendants' conduct was not a mere mistake or accident. Instead, it was the

intended result of their standard operating procedures.

        53.    Additionally, Equifax Information Services, LLC has been sued repeatedly for

failing to establish or to follow reasonable procedures to assure maximum possible accuracy in

the preparation of the credit reports and credit files it publishes and maintains, including in this

District and Division. See e.g., Mullins v. Equifax Information Services, LLC, 3:05cv888,2007

WL 2471080 (E.D. Va. August 27, 2007); Saunders v. Branch Banking and Trust Co.,

3:05cv731 (E.D. Va.); Ross v. Experian InformationSolutions, Inc., 3:09cvl44 (E.D. Va. 2009);

Baker v. TransUnion, LLC, 3:07-cv-107 (E.D. Va. 2007); Roger Pace v. Equifax Information

Services, LLC, 3:1 l-cv-554 (E.D. Va. 2012).

         54.    Despite these lawsuits, Equifax Information Services, LLC has not significantly

modified its procedures to assure that the credit reports that it prepares, publishes, and maintains

are as accurate as possible, as required by the FCRA at 15 U.S.C. § 1681e(b).

         55.    Upon information and belief, Equifax Information Services, LLC has not, and

does not intend, to modify its procedures to comply with this section of the FCRA because

compliance would drastically increase its operating expenses.




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       56.     Additionally, Equifax Information Services, LLC obtained or had available

substantial written materials that apprised it of its duties under the FCRA.

       57.     Plaintiffs allege that the Defendants' conduct as alleged in this Complaint was

consistent with its established and systemically executed procedures and policies for compliance

with the FCRA.


       58.     Accordingly, the Defendants' violations of 15 U.S.C. §§ 1681e(b) and 1681(g)

were willful and they are liable for punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 168In.

                           Count I: Violation of 15 U.S.C. § 1681g(a)
                                          CLASS CLAIM


       59.     Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

        60.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class defined as follows:


               All natural persons residing in the United States (including all territories
               and other political subdivisions of the United States) (a) who requested
               their consumer file from Equifax, Inc., any of its affiliated companies,
               subsidiaries, or any other Equifax entity, (b) within five years preceding
               the filing of this action and during its pendency, and (c) to whom the
               Defendants provided a response that did not include any information from
               its "Work Number" database. Excluded from the class definition are any
               employees, officers, directors of Defendants, any attorney appearing in
               this case, and any judge assigned to hear this action.

        61.     Plaintiffs incorporate their prior allegations and estimate that the class is so

numerous that joinder of all members is impractical.

        62.     Plaintiffs' counsel is in possession of numerous letters and consumer files that

Equifax sent to a consumer in response to his or her request for a complete copy of his or her

Equifax consumer file. None of these letters or consumer files contain any reference to the



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Defendants' "Work Number Database." These response letters have remained consistent and

uniform across time, jurisdictions, and consumers.

       63.     There are questions of law and fact common to the class, which common issues

predominate over any issues involving only individual class members. For example, and without

limitation: (a.) whether the Defendants failed to send the required information in response to a

consumer's request for a full copy of his or her Equifax file; (b.) whether this failure was a result

of the Defendants' standard operating procedure when responding to a consumer's request for a

full copy of her or her credit file; (c.) whether the Defendants' conduct constituted a violation of

the FCRA; (d.) whether the Defendants' conduct was willful; and (e.) the appropriate amount of

statutory and/or punitive damages that are appropriate for such a violation.

        64.    Plaintiffs' claims are typical of those of the class members. All are based on the

same facts and legal theories. The Defendants' response to a consumer's request for a full copy

of his or her consumer file routinely failed to include any information about the Defendants'

"Work Number" database during the full class period. The violation alleged is the same and the

class claim will rise and fall entirely based upon whether or not Plaintiffs' claim rises or falls.

        65.     The Plaintiffs will fairly and adequately protect the interests of the class. The

Plaintiffs have retained counsel experienced in handling actions involving unlawful practices

against consumers and class actions. Neither Plaintiffs nor their counsel have any interests that

might cause them not to vigorously pursue this action. The Plaintiffs are aware of their

responsibilities to the putative classes and have accepted such responsibilities.

        66.     Certification of a class under Rule 23(b)(1) of the Federal Rules of Civil

Procedure is proper. Prosecuting separate actions by or against individual class members would

create a risk of adjudications with respect to individual class members that, as a practical matter.




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would be dispositive of the interests of the other members not parties to the individual

adjudications or would substantially impair or impede theirability to protect their interests.

       67.     Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil

Procedure is appropriate in that the Defendants have acted on grounds generally applicable to the

class thereby making appropriate declaratory relief with respect to the class as a whole.

        68.    Certification of the class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that:

               a.      As alleged above, the questions of law or fact common to the members of

the classes predominate over any questions affecting an individual member. Each of the

common facts and legal questions in the case overwhelm the more modest individual damages

issues. Further, those individual issues that do exist can be effectively streamlined and resolved

in a manner that minimizes the individual complexities and differences in proof in the case.

                b.     A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Consumer claims generally are ideal for class treatment

as they involve many, if not most, consumers who are otherwise disempowered and unable to

afford and bring such claims individually. Further, most consumers affected by the Defendants'

FCRA violation would likely be unaware of their rights under the law, or who they could find to

represent them in federal litigation. Additionally, individual litigation of the uniform issues in

this case would be a waste ofjudicial resources. The issues at the core of this case are class wide

and should be resolved at one time. One win for one consumer would set the law as for every

similarly situated consumer.




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       69.     The Defendants' failure to disclose all information in the consumer's file in

response to a consumer's request for this information violated 15 U.S.C. § 1681g(a) as to the

Plaintiffs and other putative class members.

       70.     The conduct, action, and inaction of the Defendants were willful, rendering the

Defendants liable for statutory and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 168In.

       71.     Plaintiffs and the putative class members are entitled to recover costs and

attorney's fees, as well as appropriate equitable relief, from the Defendants, in an amount to be

determined by the Court pursuant to 15 U.S.C. § 168In. In the alternative, the violation was

negligent entitling the Plaintiffs and the class to actual damages in the amount of the value of

their consumer file.


       72.     As a result of these FCRA violations, the Defendants are liable to the Plaintiffs

and to each putative class member for statutory damages from $100.00 to $1,000.00, punitive

damages, and/or actual damages, as well as for their attorney's fees and costs pursuant to 15

U.S.C. § 1681n.

                        Count II: Violation of 15 U.S.C. § 1681e(b)
    Plaintiff Henderson's Claim Against Defendant Equifax Information Services, LLC

        73.     Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

        74.     Equifax Information Services, LLC violated 15 U.S.C. § 1681 e(b) by failing to

establish or to follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit reports and credit files it published and maintained concerning Plaintiff

Henderson.


        75.     As a result of this alleged conduct, action, and inaction, Plaintiff Henderson



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suffered actual damages.

       76.     Equifax Information Services, LLC's conduct, actions, and inaction were willful,

rendering it liable for punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, it was negligent, entitling the Plaintiff to recover under 15

U.S.C. § 1681o.

       77.     The Plaintiff is entitled to recover actual damages, statutory damages, costs, and

his attorney's fees from Equifax Information Services, LLC in an amount to be determined by

the Court pursuant to 15 U.S.C. § 168In and/or 15 U.S.C. § 1681o.

       WHEREFORE, Plaintiffs, on behalf of themselves and the putative class members, move

for class certification and for statutory and punitive damages, as well as their attorney's fees and

costs against the Defendants for their class claim, as well as actual, statutory, and punitive

damages, as well as their attorney's fees and costs for Plaintiffs Henderson's individual claim

against Defendant Equifax Information Services, LLC; for pre-judgment and post-judgment

interest at the legal rate, and such other relief the Court does deem just, equitable, and proper.

       TRIAL BY JURY IS DEMANDED.


                                               Respectfully submitted,
                                               CHAUNA JONES and
                                               TYRONE HENDERSON, on behalfof
                                               themselves and all othersimilarly/Situated
                                               individuals




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